                Case 3:05-cr-05828-RBL            Document 40    Filed 09/11/06   Page 1 of 2



 1                                                                       Judge Burgess
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 6

 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT TACOMA
 9   UNITED STATES OF AMERICA,                        )
                                                      )       NO. CR05-5828FDB
10                           Plaintiff,               )
                                                      )
11                   v.                               )       PROTECTIVE ORDER
                                                      )
12   BRIANA WATERS,                                   )
                                                      )
13                           Defendant.               )
                                                          )
14
             The Court having considered the Stipulated Motion for Protective Order filed by the
15
     parties:
16
             THE COURT FINDS that it has discretionary and supervisory authority to oversee
17
     discovery in this case, pursuant to Federal Rule of Criminal Procedure 16(b), and that there is
18
     a legitimate concern regarding the safety and security of parties and witnesses.
19
             THE COURT ORDERS that no defendant, defense attorney, or member of any
20
     defense team shall copy, reproduce, release, or distribute in any way outside the individual
21
     defense team any report provided by the Government that contains statements made by any
22
     defendant in this case or in United States v. Dibee et al., No. CR06-60011-AA (D. Ore.), or
23
     by any person who has admitted participating in an arson that is part of the charged
24
     conspiracy in this case and is cooperating with the Government but has not yet been charged.
25
     This Order does not prohibit copying and distribution of the statements and reports within
26
     the defense team.
27

28
             THE COURT FURTHER ORDERS that Waters, and any other defendants, are
                                                                                      UNITED STATES ATTORNEY
                                                                                     700 STEWART STREET, SUITE 5220
                                                                                       SEATTLE, WASHINGTON 98101
     PROTECTIVE ORDER/WATERS (CR05-5828FDB) - 1                                              (206) 553-7970
             Case 3:05-cr-05828-RBL               Document 40   Filed 09/11/06   Page 2 of 2



 1   prohibited from possessing any of these reports, and that they may only review the reports
 2   under the direct supervision of their attorneys, or investigators employed by their attorneys,
 3   unless otherwise ordered by the Court;
 4           THE COURT FURTHER ORDERS that, upon completion of the case, defense
 5   counsel shall return all of these reports, and all copies of the reports, to the Government,
 6   unless otherwise ordered by the Court.
 7           DONE this 11th day of September, 2006.



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                                                      FRANKLIN D. BURGESS
11
                                                      UNITED STATES DISTRICT JUDGE
12
     Presented by:
13

14
     JOHN McKAY
     United States Attorney
15
     /s/ Mark Bartlett
16   MARK BARTLETT
17
     First Assistant United States Attorney

18    /s/ Andrew C. Friedman
     ANDREW C. FRIEDMAN
19   Assistant United States Attorney
20   United States Attorney’s Office
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21   Seattle, Washington 98101-3903
     Telephone: (206) 553-7970
22   Fax:          (206) 553-0882
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     /s/ Neil M. Fox
25
     NEIL M. FOX I
26   Counsel for Briana Waters
     Cohen & Iaria
27   1008 Western Avenue
     Seattle, Washington 98104
28
     Telephone: (206) 624-9694

                                                                                      UNITED STATES ATTORNEY
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                                                                                       SEATTLE, WASHINGTON 98101
     PROTECTIVE ORDER/WATERS (CR05-5828FDB) - 2                                              (206) 553-7970
